     Case 14-75160-sms             Doc       Filed 03/22/19 Entered 03/22/19 15:53:55                      Desc Main
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                                                  Case No: 14-75160-BEM
                          UNITED STATES BANKRUPTCY COURT
                                            Northern District of Georgia
In re:   Anthony Carver McClarn                                     Case no: 14-75160-SMS
                                                                    Chapter: 13
Property Address: 4038 Boulder Vista Drive, Conley, GA 30288
Last four of any number you use to identity the debtor's account: 4132
Court Claim No. (if known). 1
                     RESPONSE TO NOTICE OF FINAL CURE PAYMENT


As contemplated by Fed. R. Bankr. Proc. 3002
Citizens Trust Bank
(“Creditor”) hereby responds to that certain Notice of Final Cure Payment dated   03/01/2019 and filed as Docket No. 73.
                                        Pre-Petition Default Payments
X Agrees that Debtor(s) has paid in full the amount required to cure the default on the Creditor's claim

Total Amount Due:          $0.00



                                       Post-Petition Default Payments
X Disagrees that Debtor(s) is current with respect to all payments consistent with 1322(b)(5) and states that the total
amount due to cure Post-petition arrears is:

Total Amount Due:                   $6,779.50



Attached as Schedule of Amounts Outstanding on Post-petition Claim is an itemized account of the post-petition amounts
that remain unpaid as of the date of this cure notice. The amounts outstanding identified on Schedule 2 do not reflect
amounts that became or may become due after the date of the Cure Notice, including any fees that may have been incurred
in the preparation, filing, or prosecution of this Response to the Cure Notice.


The amounts due identified on this statement may not, due to timing, reflect all payments sent to Creditor as of the date of
the Cure Notice. In addition, the amounts due may include payments reflected on the NDC but which have not yet been
received and/or processed by Creditor.
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                    UNITED STATES BANKRUPTCY COURT

The person completing this Notice must sign it. Sign and print your name and your title (if any), and
state your address and telephone number if different from the notice address listed on the proof of
claim to which this supplement applies.

__ I am the Creditor                 X       I am the Creditor's authorized agent/counsel (attach copy
                                             of power of attorney, if any).

I declare under penalty of perjury that the information provided in this Statement in Response to Notice
of Final Cure Payment is true and correct to the best of my knowledge, information and reasonable
belief.

/s/Lisa F. Caplan      March 22, 2019
Signature                     Date

Lisa F. Caplan
Title: Attorney for Creditor
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
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                   UNITED STATES BANKRUPTCY COURT

                 Schedule of Amounts Outstanding Post-Petition Claim

Description                 From        To          Date       Amount        Total
                                                    Incurred
Missed Payment Group 1      11/01/2018 03/01/2019              $1,358.90     $6,794.50
Suspense Balance Credit                                        $-15.00       $-15.00
Grand Total                                                                  $6,779.50
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                                     CERTIFICATE OF SERVICE


       I, Lisa F. Caplan of Rubin Lublin, LLC certify that on the 22nd day of March, 2019, I caused a
copy of the Response to Notice of Final Cure Payment to be filed in this proceeding by electronic
means and to be served by depositing a copy of the same in the United States Mail in a properly
addressed envelope with adequate postage thereon to the said parties as follows:


Anthony Carver McClarn,
4038 Boulder Vista Drive
Conley, GA 30288

Michael R. Rethinger, Esq.
Law Offices of Michael R. Rethinger, LLC
241 Mitchell Street, SW
Atlanta, GA 30303

Mary Ida Townson
Chapter 13 Trustee
191 Peachtree Street, NE
Suite 2200
Atlanta, GA 30303

Executed on 3/22/19
By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
